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                                                                Nevada Bar No. 8276
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                                                                MICHAEL D. NAPOLI, ESQ.
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                                                           9    Email: Michael.napoli@akerman.com
                                                           10   Attorneys for party in interest Tecumseh – Infinity
                                                                Medical Receivables Fund, L.P.
              TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                           11
                 1635 Village Center Circle, Suite 200




                                                                                              UNITED STATES BANKRUPTCY COURT
                     LAS VEGAS, NEVADA 89134




                                                           12
AKERMAN LLP




                                                                                                       DISTRICT OF NEVADA
                                                           13

                                                           14   In re:                                                 Case No.:   21-14486-abl
                                                           15   INFINITY CAPITAL MANAGEMENT, INC;                      Chapter     7
                                                                dba INFINITY HEALTH CONNECTIONS
                                                           16                                                          NOTICE OF ENTRY OF ORDER
                                                                                                                       [RE: Doc. 134]
                                                           17                      Debtor.
                                                           18

                                                           19                PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in the above-
                                                           20   captioned matter on November 19, 2021.
                                                           21                DATED: November 23, 2021.         AKERMAN LLP
                                                           22                                                  /s/ Michael D. Napoli
                                                           23                                                  MICHAEL D. NAPOLI, ESQ.
                                                                                                               PRO HAC VICE
                                                           24                                                  2001 Ross Avenue, Suite 3600
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                                                           25                                                  Telephone: (214) 720-4360
                                                                                                               Facsimile: (214) 720-81164
                                                           26

                                                           27                                                  Attorneys for party in interest Tecumseh – Infinity
                                                                                                               Medical Receivables Fund, L.P.
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                                                           1                                          CERTIFICATE OF SERVICE

                                                           2         1. On November 23, 2021 I served the following document:
                                                           3                 NOTICE OF ENTRY OF ORDER [Re: Doc. 134]
                                                           4         2. I served the above-named document by the following means to the persons as listed
                                                           5                 below: (Check all that apply)
                                                           6                       a.     ECF System
                                                           7                 ROBERT E. ATKINSON, Chapter 7 Trustee
                                                                             Robert@ch7.vegas; TrusteeECF@ch7.vegas; ecf.alert+atkinson@titlexi.com
                                                           8
                                                           9                 CLARISSE L. CRISTOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                                             clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                           10
              TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                           11                BRADFORD IRELAN on behalf of HEALTHPLUS IMAGINING OF TEXAS LLC
                 1635 Village Center Circle, Suite 200




                                                                             birelan@imtexaslaw.com; jstephens@imtexaslaw.com; dhall@imtexaslaw.com;
                     LAS VEGAS, NEVADA 89134




                                                           12
                                                                             ynguyen@imtexaslaw.com
AKERMAN LLP




                                                           13
                                                                             BART K. LARSEN on behalf of Creditor HASELECT-MEDICAL RECEIVABLES
                                                           14                LITIGATION FINANCE FUND INTERNATIONAL SP
                                                                             BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com
                                                           15

                                                           16                DAVID MINCIN on behalf of HEALTHPLUS IMAGINING OF TEXAS LLC
                                                                             dmincin@mincinlaw.com; cburke@mincinlaw.com
                                                           17
                                                                             TRENT L. RICHARDS on behalf of THE INJURY SPECIALISTS
                                                           18                trichards@sagebrushlawyers.com
                                                           19                U.S. TRUSTEE – LV – 7, U.S. Trustee
                                                           20                USTPRegion17.LV.ECF@usdoj.gov

                                                           21                MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                                             INC.
                                                           22                mzirzow@lzlawnv.com; carey@lzlawnv.com; trish@lzlawnv.com; allison@lzlawnv.com;
                                                                             zirzow.matthewc.r99681@notify.bestcase.com
                                                           23

                                                           24                      b.     United States mail, postage fully prepaid

                                                           25                      c.     Personal Service

                                                           26                              I personally delivered the document(s) to the persons at these addresses:

                                                           27                      For a party represented by an attorney, delivery was made by handing the
                                                                             document(s) to the attorney or by leaving the documents(s) at the attorney’s office with a
                                                           28                clerk or other person in charge, or if no one is in charge by leaving the documents(s) in a

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                                                                      Case 21-14486-abl           Doc 136       Entered 11/23/21 10:27:12       Page 3 of 6



                                                                             conspicuous place in the office.
                                                           1
                                                                                    For a party, delivery was made by handing the document(s) to the party or by leaving
                                                           2                 the document(s)at the person’s dwelling house or usual place of abode with someone of
                                                                             suitable age and discretion residing there.
                                                           3
                                                                                   d.      By direct mail (as opposed to through the ECF System)
                                                           4
                                                                                   e.      By fax transmission
                                                           5
                                                                                   f.      By messenger
                                                           6
                                                                I declare under penalty of perjury that the foregoing is true and correct.
                                                           7
                                                                             Signed on: November 23, 2021
                                                           8
                                                                 Michael Napoli                                             /s/ Michael Napoli
                                                           9     (Name of Declarant)                                        (Signature of Declarant)
                                                           10
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                                                           11
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                     LAS VEGAS, NEVADA 89134




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AKERMAN LLP




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                                                             4   Entered on Docket
                                                            ___________________________________________________________________
                                                                November 19, 2021
                                                             5

                                                             6   ARIEL E. STERN, ESQ.
                                                                 Nevada Bar No. 8276
                                                             7   AKERMAN LLP
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                                                            14
                                                                 Attorneys for party in interest Tecumseh – Infinity
                                                            15   Medical Receivables Fund, L.P.
                                                            16                                  UNITED STATES BANKRUPTCY COURT
                                                                                                       DISTRICT OF NEVADA
                                                            17
                                                                 In re:
                                                            18                                                          Case No.:   21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter     7
                                                            19   dba INFINITY HEALTH CONNECTIONS,
                                                            20                       Debtor.                            ORDER GRANTING CHAPTER 7
                                                                                                                        TRUSTEE AND TECUMSEH –
                                                            21                                                          INFINITY MEDICAL
                                                                                                                        RECEIVABLES FUND, LP’s
                                                            22                                                          JOINT MOTION TO REJECT
                                                                                                                        SUB-ADVISORY AGREEMENT
                                                            23
                                                                                                                        Hearing Date: November 17, 2021
                                                            24                                                          Hearing Time: 9:30 a.m.
                                                            25

                                                            26
                                                                              This matter came before the Court on November 17, 2021 at a hearing upon the Joint Motion
                                                            27
                                                                 of Chapter 7 Trustee and Party In interest Tecumseh – Infinity Medical Receivables Fund, LP to
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                                                             1   Reject Sub-Advisory Agreement with Tecumseh-Infinity Medical Receivables Fund, LP [ECF No. 61]

                                                             2   (the “Motion”). Appearances were as noted in the record. All findings of fact and conclusions of law

                                                             3   orally stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as

                                                             4   made applicable to these proceedings via Fed. R. Bankr. P. 6006, 7052 and 9014(c). For the reasons

                                                             5   provided by the Court on the record at the hearing,

                                                             6                IT IS HEREBY ORDERED:

                                                             7                1.     The Motion is GRANTED.

                                                             8                2.     The Sub-Advisory Agreement1 is hereby rejected pursuant to 11 U.S.C. 365.
                                                             9                IT IS SO ORDERED.

                                                            10                                                           # # # # #
                                                            11   PREPARED AND SUBMITTED:
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12   AKERMAN LLP
                     LAS VEGAS< NEVADA 89134




                                                            13
AKERMAN LLP




                                                            14   /s/ Michael Napoli, Esq
                                                                 ARIEL E. STERN, ESQ.
                                                            15   1635 Village Center Circle, Suite 200
                                                                 Las Vegas, Nevada 89134
                                                            16
                                                                 MICHAEL D. NAPOLI, ESQ.
                                                            17   PRO HAC VICE
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                                                            18   Dallas, Texas 75201

                                                            19   Attorneys for Tecumseh – Infinity Medical
                                                                 Receivables Fund, L.P.
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                                                                     All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise defined herein.
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                                                                 CERTIFICATION re: RULE 9021
                                                             1

                                                             2
                                                                 In accordance with LR 9021, counsel submitting this document certifies that the order accurately
                                                             3   reflects the court’s ruling and that (check one):

                                                             4         The court has waived the requirements set forth in LR 9021(b)(1).
                                                             5         No other party appeared at the hearing or filed an objection to the motion.
                                                             6
                                                                      I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and any
                                                             7   unrepresented parties who appeared at the hearing, and each has approved or disapproved the order,
                                                                 or failed to respond, as indicated below:
                                                             8
                                                                 Robert Atkinson, Esq. (Trustee) – APPROVED
                                                             9   Matthew Zirzow, Esq. (counsel for Debtor) – APPROVED
                                                            10   Bart Larsen, Esq. (counsel for HASelect) – APPROVED

                                                            11      I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with the
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                                 motion pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
                                                            12
                     LAS VEGAS< NEVADA 89134




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                                                            13
AKERMAN LLP




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